      Case 2:12-cv-00584-SMV-CG Document 83 Filed 04/08/13 Page 1 of 13




                       IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF NEW MEXICO

VIVIAN FRIETZE,

       Plaintiff,

v.                                                                       No. 12-cv-0584 SMV/CG

SAFECO INS. CO. OF AMERICA,

       Defendant.

               ORDER GRANTING DEFENDANT’S MOTION TO STRIKE

       THIS MATTER is before the Court on Defendant Safeco’s Motion to Strike . . .

[Doc. 64], (“Motion to Strike”), filed on January 24, 2013. Having reviewed the submissions of

the parties [Docs. 64, 71, 77] and the relevant law, and having heard oral argument on the motion

on April 3, 2013, the Court finds that the motion is well-taken and should be GRANTED.

                                           Background

       Safeco Insurance Company of America (“Safeco”) issued an auto policy of insurance to

Plaintiff Vivian Frietze (“Policy”). On or about May 20, 2007, Plaintiff was involved in a motor

vehicle accident with an underinsured motorist (“UIM”). After Plaintiff filed suit against the

tortfeasor, she and the tortfeasor reached a settlement for the tortfeasor’s liability policy limits.

Plaintiff then made a UIM claim with Safeco under her Policy. Plaintiff and Defendant were

unable to resolve the UIM claim informally.

       Plaintiff filed this action in the Third Judicial District Court, County of Doña Ana, State

of New Mexico, and Safeco removed it to this Court. Plaintiff alleges breach of contract and

negligence and seeks declaratory judgment regarding her rights under the Policy. Plaintiff also
      Case 2:12-cv-00584-SMV-CG Document 83 Filed 04/08/13 Page 2 of 13




alleges in her Complaint that Safeco failed to provide reasonable settlement offers, failed to

properly evaluate and investigate Plaintiff’s claim, and breached its statutory and common law

duties generally. Safeco denies all allegations of misconduct.

       On July 24, 2013, the Honorable Carmen E. Garza, United States Magistrate Judge,

entered a Scheduling Order [Doc. 16] setting out certain pretrial deadlines. The Scheduling

Order provided:

               Plaintiff shall identify to all parties in writing any expert witness to
               be used by Plaintiff at trial and to provide expert reports pursuant
               to FED. R. CIV. P. 26(a)(2)(B) no later than October 22, 2012. All
               other parties shall identify in writing any expert witness to be used
               by such parties at trial and to provide expert reports pursuant to
               FED. R. CIV. P. 26(a)(2)(B) no later than November 21, 2012.

Scheduling Order [Doc. 16] at 2.

       Plaintiff served her expert witness disclosure on October 19, 2012. See Plaintiff’s Motion

to Strike, Ex. A [Doc. 64-1] at 3–4. She identified four treating physicians as potential expert

witnesses: Dr. Henderson, Dr. Saiz, Dr. Rios, and Dr. Delahoussaye. Id. at 1–2. Her disclosure

was identical as to each witness:

               Dr. . . . will testify about the treatment he provided to [Plaintiff] as
               contained in his medical records. He may also testify about other
               treatment she received from health care providers as a result of the
               car crash. All treatment is contained in [Plaintiff’s] medical records
               provided to Defendant. Dr. . . . will give his opinion as to the
               diagnosis and prognosis of [Plaintiff’s] injuries. He may be asked
               to testify as to the necessity and reasonableness of her medical
               expenses.

Id. Plaintiff did not provide an expert report for any of the four treating physicians.




                                                  2
       Case 2:12-cv-00584-SMV-CG Document 83 Filed 04/08/13 Page 3 of 13




        Defendant timely disclosed its expert, Dr. Radecki, on November 16, 2012. [Doc. 45].

Included with the disclosure was Dr. Radecki’s expert report pursuant to Rule 26(a)(2)(B).1 The

report indicated that Dr. Radecki had reviewed all of Plaintiff’s medical records from her four

treating physicians, as well as records from other medical treatment that pre-dated the accident.

See Plaintiff’s Response to Motion to Strike, Exhibits 3A, 3B [Doc. 71-3] at 1 through

[Doc. 71-4] at 10. Dr. Radecki opined that, while some of Plaintiff’s complaints and impairments

were causally related to the accident in question, a good portion were attributable to pre-existing

conditions and stress. Id. [Doc. 71-4] at 7–10. He further opined that there had been some

“over-utilization” of medical care; in other words, he felt that some of the care provided by

Plaintiff’s treating physicians was not medically necessary. Id. [Doc. 71-4] at 8.

        Dr. Delahoussaye’s deposition was scheduled for December 14, 2012. A few minutes

before the deposition, he presented defense counsel with a report, dated December 13, 2012,

entitled, “Review of Medical Records and Case Review.” [Doc. 64-4]. The report began as

follows:

                         I have been asked to review medical records related to the
                 care of Vivian Frietze. She sustained injuries as a result of a motor
                 vehicle accident. I have been supplied with medical records
                 documenting her care related to this incident. In addition I have
                 been given a report formulated by Richard T. Radecki M.D. that
                 included a review of medical records as well as expressing
                 opinions related to the medical necessity of her care.

                         The following is a list of the medical records that were
                 provided to me and that were reviewed as part of preparation for
                 this report.2
1
  There is no dispute regarding the timeliness or sufficiency of Defendant’s expert disclosure.
2
  No list is provided in the text of the report. The report refers to an attachment entitled “Summary of medical
records and charges,” which is not part of the record. See Delahoussaye Report, [Doc. 64-4] at 4. Presumably that
summary includes the list of medical records Dr. Delahoussaye received and reviewed. However, it is unclear from
the record whether Drs. Delahoussaye and Radecki reviewed the same records.

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        Case 2:12-cv-00584-SMV-CG Document 83 Filed 04/08/13 Page 4 of 13




                         I have also reviewed the report of Dr. Radecki and I have
                  opinions related to his report.

Id. at 1. Dr. Delahoussaye then proceeded to review and criticize Dr. Radecki’s report. He

concluded by stating, inter alia:

                  I have reviewed the care and have determined that all of the care
                  that has been provided to her for her motor vehicle accident is
                  reasonable for the injuries that she sustained.

                         I have reviewed the charges and I have determined that all
                  the charges are reasonable and necessary based upon prevailing
                  charges in this region.3

Id. at 4. Defense counsel proceeded with Dr. Delahoussaye’s deposition but did not question

him about his report.

         Defendant filed its Motion to Strike on January 24, 2013. [Doc. 64]. It is important to

note what relief Defendant is not requesting. Defendant does not seek to preclude

Dr. Delahoussaye from testifying or from giving expert testimony. Defendant seeks only an

order (1) striking Dr. Delahoussaye’s expert report, and (2) restricting the testimony of Plaintiff’s

treating physicians, including Dr. Delahoussaye, to “fact opinions” that were formed during their

treatment of the Plaintiff and derived from their personal observations and treatment. See Motion

to Strike [Doc. 64] at 1, 9.

                                                     Discussion

         Rule 26(a)(2)(A) of the Federal Rules of Civil Procedure requires a party to disclose the

identity of all expert witnesses. Rule 26(a)(2)(B) adds that:



3
  It is not entirely clear whether “all of the care provided to her” meant all of the care provided by all four treating
physicians, or only the care provided by Dr. Delahoussaye himself. The Court assumes Dr. Delahoussaye intended
the former.

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       Case 2:12-cv-00584-SMV-CG Document 83 Filed 04/08/13 Page 5 of 13




                 (B) Witnesses Who Must Provide a Written Report. Unless
                 otherwise stipulated or ordered by the court, this disclosure must
                 be accompanied by a written report—prepared and signed by the
                 witness—if the witness is one retained or specially employed to
                 provide expert testimony in the case or one whose duties as the
                 party's employee regularly involve giving expert testimony. The
                 report must contain:

                        (i) a complete statement of all opinions the witness will
                 express and the basis and reasons for them;

                          (ii) the facts or data considered by the witness in forming
                 them;

                          (iii) any exhibits that will be used to summarize or support
                 them;

                        (iv) the witness's qualifications, including a list of all
                 publications authored in the previous 10 years;

                         (v) a list of all other cases in which, during the previous 4
                 years, the witness testified as an expert at trial or by deposition;
                 and

                        (vi) a statement of the compensation to be paid for the
                 study and testimony in the case.

Fed. R. Civ. P. 26(a)(2)(B).

        It is undisputed that Dr. Delahoussaye produced what amounts to an expert report. It is

equally undisputed that the report did not comply with Rule 26(a)(2)(B).4 That is not the issue.

The issue is whether the report was required at all. As the text of the Rule makes plain, the Rule

contemplates two categories of experts: those retained or specially employed to testify, and other

witnesses who may qualify as experts but were not retained or specially employed. Those in the

first category must provide expert reports; those in the second category need not. However,

4
  In addition to being untimely, the report fails to include the specific information required by Rule 26(a)(2)(B)
(ii−vi) regarding, for example, Dr. Delahoussaye’s qualifications, his publications, other cases in which he has
testified, and his compensation for reviewing materials and testifying.

                                                        5
      Case 2:12-cv-00584-SMV-CG Document 83 Filed 04/08/13 Page 6 of 13




experts do not always fit neatly into one category or the other. See Sowell v. Burlington N. &

Santa Fe Ry. Co., No. 03 C 3923, 2004 WL 2812090, at *2–3 (N.D. Ill. Dec. 4, 2004). It is

undisputed that Dr. Delahoussaye is a treating physician. Unlike Dr. Radecki, he was not a

stranger to the Plaintiff, retained solely to give expert testimony. But unlike most treating

physicians, Dr. Delahoussaye has done more than merely treat the Plaintiff. He has reviewed

materials beyond his own medical records and has performed, in his own words, a “case review.”

See Delahoussaye Report [Doc. 64-4] at 1. The question is whether, under those circumstances,

Plaintiff was required to produce an expert witness report for Dr. Delahoussaye when he was

disclosed as an expert.

       Plaintiff argues that she had no such obligation. She argues that Dr. Delahoussaye’s

status as a treating physician places him outside the scope of Rule 26(a)(2)(B), or at the very

least, that the law on this issue is “unsettled” in the Tenth Circuit. See Plaintiff’s Response

[Doc. 71] at 4. She correctly points out that the Local Rules for the District of New Mexico state

that treating physicians are not required to prepare expert reports under Rule 26(a)(2)(B). Id. at 3

(citing D.N.M.LR-Civ. 26.3(b)). In addition, she argues that if a report was required, her failure

to provide one was substantially justified or harmless. Id. at 5. Finally, Plaintiff argues that

Dr. Delahoussaye’s report was timely disclosed as a “rebuttal report” under Rule 26(a)(2)(D)(ii).

The Court does not find Plaintiff’s arguments persuasive.

       Courts across the country have examined when a treating physician must provide a

Rule 26(a)(2)(B) report. See Garcia v. City of Springfield Police Dep’t, 230 F.R.D. 247, 247–49

(D. Mass. 2005) (collecting cases and concluding that requirement of expert report depends on

whether treating physician is specially retained in connection with litigation and whether


                                                 6
      Case 2:12-cv-00584-SMV-CG Document 83 Filed 04/08/13 Page 7 of 13




testimony is based on personal observations from providing care and treatment); Sowell, 2004

WL 2812090 at *2–3 (collecting cases and concluding that expert report is always required

where treating physician’s testimony includes opinions on “causation, permanency, and

prognosis”); McCloughan v. City of Springfield, 208 F.R.D. 236, 241–42 (C.D. Ill. 2002)

(collecting cases and concluding that expert report is not required where treating physician

offers testimony on “causation, diagnosis, and prognosis”). However, the issue most courts have

struggled with is not the one presented in this case. The primary area of controversy among the

decisions cited supra is whether a treating physician may offer opinion testimony on causation

and prognosis, even if she bases her opinions solely upon personal knowledge obtained from her

treatment of the plaintiff. The majority view has been that causation and prognosis are

encompassed in the ordinary care of a patient and thus do not subject the treating physician to the

report requirement of Rule 26(a)(2)(B). See, e.g., Shepardon v. West Beach Estates, 172 F.R.D.

415, 416–17 (D. Haw. 1997). The minority view holds that a treating physician’s primary

function is to provide care and treatment, and determining causation is incidental to that

treatment and typically based on whatever the patient has reported to the physician. See, e.g.,

Sowell, 2004 WL 2812090, at *4.

       But the issue in this case is not whether Dr. Delahoussaye should be allowed to testify on

causation or prognosis based upon personal knowledge obtained from his treatment of the

Plaintiff. The issue here is whether Rule 26(a)(2)(B) requires an expert report from a treating

physician who offers opinion testimony based on information that has been provided to him for

purposes of the lawsuit, as opposed to opinions based on personal knowledge obtained through

his treatment of the plaintiff. Courts have not struggled with that issue. Under circumstances


                                                7
       Case 2:12-cv-00584-SMV-CG Document 83 Filed 04/08/13 Page 8 of 13




similar to those in this case, courts have routinely, and as far as the Court can tell, universally,

held that a Rule 26(a)(2)(B) expert report is required. The general rule, as one court succinctly

phrased it, is as follows:

                        The treating physician for whom no expert report is
                supplied is not permitted to go beyond the information acquired or
                the opinion reached as a result of the treating relationship to opine
                as to the causation of any injury.

                         To the extent that the source of the facts which form the
                basis for a treating physician’s opinions derive from information
                learned during the actual treatment of the patient—as opposed to
                being subsequently supplied by an attorney involved in the
                litigation—then no Rule 26(a)(2)(B) statement should be required.
                However, when the doctor’s opinion testimony extends beyond the
                facts disclosed during care and treatment of the patient and the
                doctor is specially retained to develop opinion testimony, he or she
                is subject to the provisions of Rule 26(a)(2)(B).

In re: Aredia and Zometa Prods. Liab. Litig., 754 F. Supp. 2d 934, 937 (M.D. Tenn. 2010)

(internal citations omitted). Numerous courts in other circuits and districts have followed this

rule. See, e.g., Walter Int’l Prods., Inc. v. Salinas, 650 F.3d 1402, 1410 (7th Cir. 2011);

Goodman v. Staples, 644 F.3d 817, 825–26 (9th Cir. 2011); Downey v. Bob’s Disc. Furniture

Holdings, 633 F.3d 1, 6 (1st Cir. 2011); Lorenzi v. Pfizer, Inc. 519 F. Supp. 2d 742, 750 n.6

(N.D. Ohio 2007); Kirkham v. Société Air Fr., 236 F.R.D. 9, 12 (D.D.C. 2006); Garcia, 230

F.R.D. at 249; Zurba v. United States, 202 F.R.D. 590, 591 (N.D. Ill. 2001); Washington v.

Arapahoe Cnty. Dep’t of Soc. Servs., 197 F.R.D. 439, 442 (D. Colo. 2000) (the application of

Rule 26(a)(2)(B) depends on the substance of the treating physician’s testimony rather than his

or her status); Elgas v. Colo. Belle Corp., 179 F.R.D. 296, 299–300 (D. Nev. 1998): Piper v.

Harnischfeger Corp., 170 F.R.D. 173, 175 (D. Nev. 1997); Bucher v. Gainey Transp. Serv. of



                                                 8
       Case 2:12-cv-00584-SMV-CG Document 83 Filed 04/08/13 Page 9 of 13




Ind., Inc., 167 F.R.D. 387, 390 (M.D. Pa. 1996); Sullivan v. Glock, Inc., 175 F.R.D. 497, 501

(D. Md. 1997); Salas v. United States, 165 F.R.D. 31, 33 (W.D.N.Y. 1995).

        The Honorable Bruce D. Black, former Chief United States District Judge, reached the

same result in Farris v. Intel Corp., 493 F. Supp. 2d 1174 (D.N.M. 2007), a case from this

district that is directly on point. Farris sued Intel, claiming that he had developed rhinitis as a

result of his exposure to noxious fumes at Intel’s Rio Rancho plant. In the Initial Pre-Trial

Report Farris identified Dr. William Christensen as a treating physician who “will testify as to

[his] knowledge regarding the incident, [Farris’] injuries, diagnosis, prognosis, cost and

treatment.” Id. at 1177. The Initial Pre-Trial Report set forth deadlines. One such deadline was

June 5, 2006, the date by which Farris was required to “identify to all parties in writing any

expert witness to be used by Plaintiff at trial and to provide expert reports pursuant to Fed. R.

Civ. P. 26(a)(2)(B).” Id. This deadline passed without Farris’ submitting any expert disclosures

or reports. Id.

        On July 25, 2006, approximately seven weeks after the expert disclosure deadline, Farris’

attorney served the defendant with two reports prepared by Dr. Christensen. Along with the

reports, Farris served a “Supplemental and Rebuttal Expert Witness Disclosure,” designating

Dr. Christensen as a “rebuttal” expert. Id. The reports and disclosure were produced two weeks

before Dr. Christensen’s deposition, but after Defendant’s expert witness deadline had passed.

Id. at 1178. Intel moved to strike Dr. Christensen’s reports for failure to comply with Rule 26(a).

Judge Black granted the motion, struck the reports, and restricted the scope of Dr. Christensen’s

expert testimony:

                  Dr. Christensen is permitted to give expert testimony regarding
                  “fact opinions” as to causation, diagnosis, prognosis, and the extent

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       Case 2:12-cv-00584-SMV-CG Document 83 Filed 04/08/13 Page 10 of 13




                  of Plaintiff’s disability or injury derived from his observations and
                  treatment. However, such expert testimony is limited to “fact
                  opinions” that Dr. Christensen formed based on his personal
                  knowledge and observations obtained during his course of care and
                  treatment of Plaintiff. Dr. Christensen is not permitted to provide
                  expert testimony regarding any opinion he formed based on
                  information learned outside of, and not related to, Plaintiff’s
                  treatment.

Id. at 1180 (internal citations omitted) (citing Zurba, 202 F.R.D. at 591). The Court finds

Judge Black’s decision to be well-reasoned, compelling, and entirely consistent with the opinions

of other courts that have addressed this issue. The Court finds, therefore, that under the

circumstances of this case, Plaintiff was required by Rule 26(a)(2)(B) to submit an expert report

for Dr. Delahoussaye to the extent his opinions were based on materials and information

provided to him for purposes of providing (in his words) a “case review.”5 See Delahoussaye

Report, [Doc 64-4] at 1.

         The Court further finds that Dr. Delahoussaye’s December 13, 2012 report did not

comply with the requirements of Rule 26(a)(2)(B), in that (1) it was not timely served, and (2) it

did not provide the specific information required by Rule 26(a)(2)(B)(ii–vi).6

5
  Farris answers Plaintiff’s argument based on Local Rule 26.3, which reads, “Treating physicians need not prepare
an expert report as required by FED. R. CIV. P. 26(a)(2)(B).” D.N.M.LR-Civ. 26.3 (effective Jan. 1, 2012). Plaintiff
would have the Court interpret the Rule to mean, “No treating physician need ever prepare a Rule 26(a)(2)(B) expert
report, under any circumstance.” See [Doc. 71] at 3, 5, 7. However, that local rule was in effect—and had been in
effect for some time—when Farris was decided. Compare D.N.M.LR-Civ. 26.3 (effective April 11, 2006), available
at http://www.nmcourt.fed.us/web/DCDOCS/files/LRFinalNRL.pdf, with Farris, 493 F. Supp. 2d at 1174 (issued on
March 14, 2007). In Farris, Judge Black struck the expert report of a treating physician because it did not satisfy the
requirements of Rule 26(a)(2)(B). If Plaintiff’s interpretation of the Local Rule were correct, the holding in Farris
would not only be wrong, it would be nonsensical. The Court believes that a more reasonable interpretation of the
Local Rule is that it was intended to reflect the majority view on Rule 26(a)(2)(B), i.e., that a treating physician need
not prepare an expert report when his opinions are based solely on his own personal observations and treatment.
6
  Because Dr. Delahoussaye’s report was insufficient under Rule 26(a)(2)(B)(ii–vi), the Court need not address
Plaintiff’s argument that it was a timely “rebuttal” report under Rule 26(a)(2)(D)(ii). However, the Court will offer
three comments. First, Plaintiff never identified Dr. Delahoussaye as a rebuttal witness; he was identified as a
treating physician. Second, a rebuttal witness is one whose testimony cannot be anticipated. See, e.g., Scheduling
Order [Doc. 16], at 3 (“Counsel are directed that the Pretrial Order will provide that no witness except rebuttal
witnesses whose testimony cannot be anticipated, will be permitted to testify unless [identified] no later than thirty

                                                          10
      Case 2:12-cv-00584-SMV-CG Document 83 Filed 04/08/13 Page 11 of 13




        Rule 37 provides, in relevant part, that “[i]f a party fails to provide information or

identify a witness as required by Rule 26(a) . . . , the party is not allowed to use that information

or witness . . . at a trial, unless the failure was substantially justified or is harmless.” Fed. R. Civ.

P. 37(c)(1). Although a court need not make explicit findings regarding substantial justification

or harmlessness, it should consider the following factors: (1) any prejudice or surprise to the

party against whom the testimony is offered; (2) the ability of the party to cure any prejudice;

(3) the extent to which introducing the testimony would disrupt the trial; and (4) the violator’s

bad faith or willfulness. Woodworkers Supply, Inc. v. Principal Mut. Life. Ins. Co., 170 F.3d

985, 993 (10th Cir. 1999); see also Farris, supra (discussing application of the four factors).

        With respect to the first factor, the Court agrees that Defendant would be prejudiced by

allowing Plaintiff to introduce Dr. Delahoussaye’s report. As was the case in Farris, supra, the

report was not disclosed until after Defendant’s disclosure deadline had passed, precluding

Defendant from offering a report—from Dr. Radecki or perhaps another expert—analyzing

Dr. Delahoussaye’s opinions. And unlike the situation in Farris, where the expert report was

provided two weeks before the expert’s deposition, 493 F. Supp. 2d at 1178, Dr. Delahoussaye’s

report was produced only a few minutes before his deposition was scheduled to begin. A

principle purpose of Rule 26 is to permit “reasonable opportunity to prepare for effective cross

examination and arrange for expert testimony from other witnesses.” Washington, 197 F.R.D.

at 442 (internal quotation marks and alteration omitted). Obviously, defense counsel had no time

to prepare her cross examination of Dr. Delahoussaye on his report, let alone consult with an

(30) days prior to the time set for trial.”) (emphasis added). Third, to the extent that any new and unanticipated
issues were raised in Dr. Radecki’s report—and the Court does not so find—and Plaintiff’s counsel felt that a
rebuttal expert was required, the proper procedure would have been to identify the new expert and provide an expert
report that complied with Rule 26(a)(2)(B) & (D), not simply to have his expert tender a previously undisclosed,
non-compliant report to defense counsel minutes before his deposition.

                                                        11
      Case 2:12-cv-00584-SMV-CG Document 83 Filed 04/08/13 Page 12 of 13




expert for assistance, prior to the deposition. Were the Court to allow Plaintiff to use the report,

the Court would have to allow Defendant another opportunity to depose Dr. Delahoussaye, and

perhaps allow Defendant to retain and disclose other experts to rebut his testimony. The obvious

time and expense that would entail certainly establish prejudice.

        Regarding the second and third factors, curing the prejudice would be costly and

time-consuming, as described above. Defense counsel would need to consult with Dr. Radecki

(or perhaps other experts) regarding Dr. Delahoussaye’s report. Dr. Delahoussaye would need to

be re-deposed. Dr. Radecki would need to review the second deposition and perhaps prepare

another report of his own. At the very least, defense counsel would need to consult with

Dr. Radecki regarding his review of the second deposition.7 Thus, while the prejudice could be

cured by, essentially, restarting expert disclosures and discovery, doing so would be costly and

would implicate the third factor by disrupting the existing case management deadlines, and most

likely, the trial itself, which is set to begin on October 22, 2013. Therefore, the second and third

factors weigh in favor of granting the Motion to Strike.

        The Court does not believe the fourth factor—the violator’s willfulness—tips the scale in

one direction or the other. Plaintiff’s counsel has represented to the Court that he did not provide

the materials to Dr. Delahoussaye, and the Court accepts his representation.8 However, the

manner in which Dr. Delahoussaye obtained the materials is irrelevant; someone (presumably the


7
  After deposing Dr. Delahoussaye a second time, it is conceivable that Defendant would need to re-depose the other
three treating physicians. For example, if in formulating his opinions on the reasonableness and necessity of their
care, Dr. Delahoussaye made some assumptions about what they had done—assumptions based on ambiguous
entries in their medical records—Defendant might feel the need to re-depose the treating physicians to determine
whether Dr. Delahoussaye’s assumptions were correct. The Court raises this as a possibility, while cognizant of the
fact that Defendant has not raised this as an issue.
8
  Counsel for Defendant admits in her Reply brief that Plaintiff’s counsel appeared to be “just as surprised as
Safeco’s counsel” when Dr. Delahoussaye tendered his report shortly before his deposition. [Doc. 77] at 5.

                                                        12
      Case 2:12-cv-00584-SMV-CG Document 83 Filed 04/08/13 Page 13 of 13




Plaintiff)) gave them to him. His report clearlly states, “I hhave been suupplied withh medical records

documen
      nting [Plainttiff’s] care [as well as]
                                         a a reporrt formulateed by Richard T. Raddecki,

M.D. . . . .” Delahou
                    ussaye Repo
                              ort, [Doc. 64-4]
                                         6     at 1. Regardlesss of how D
                                                                        Dr. Delahoussaye

obtained the materials, once he
                             h reviewed them he bbecame subjject to the requiremennts of

Rule 26(aa)(2)(B). Seee Farris and
                                 d other cases discussed suupra at pp. 8 to 10.

        Having
        H      consiidered all of the four Woodworker
                                           W        rs factors, thhe Court finnds that Plaaintiff

failed to comply witth that portio
                                 on of the Sccheduling Orrder that reqquired her too provide “eexpert

reports pursuant
        p        to FED. R. CIV. P. 26(a)(2)((B) no later than Octobber 22, 2012,” [Doc. 16]], and

that such
        h failure was not substanttially justifieed under Rulle 37(c)(1).

        IT
         T IS THER
                 REFORE ORDERED
                        O       ADJUDGE       DECREED that Defenddant’s
                                      ED, AND D

Motion to
        o Strike [Do
                   oc. 64] is herreby GRANTED. Dr. D
                                                   Delahoussayee’s Decembeer 13, 2012 rreport

is hereby
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                EN. Each of
                         o the four treating phhysicians ideentified in P
                                                                        Plaintiff’s eexpert

witness disclosure
        d          [D
                    Doc. 64-1], Ex.
                                E A, will be permitted to give “factt opinions” tto the extentt such

opinions were formu
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related to
         o, his treatmeent of the Plaintiff.

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